Case 2:23-cv-21705-KSH-LDW           Document 35       Filed 01/15/25      Page 1 of 1 PageID: 109




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


    KATHLEEN PIETROCOLA,                            Civil Action No.

                   Plaintiff,                       23-21705 (KSH) (LDW)

    v.
                                                    AMENDED SCHEDULING ORDER
    CHELSEA SENIOR LIVING, LLC, et
    al.,

                   Defendants.


         THIS MATTER having come before the Court by way of defendants’ letter of January

  14, 2025, requesting an extension of fact discovery necessitated by scheduling issues (ECF 34);

  and plaintiff having consented to defendants’ request; and for good cause shown,

         IT IS, on this 15th day of January 2025, ORDERED that the pretrial schedule is hereby

  amended as follows:

     1. Fact discovery is extended through April 17, 2025. No fact discovery shall be issued or

         engaged in beyond that date, except upon application and for good cause shown.

     2. The telephonic status conference set for February 4, 2025 is adjourned to March 27, 2025

         at 2:30 p.m. before the undersigned. The parties shall submit concise status letters to the

         Court no later than one week in advance of the conference. Dial-in information for the

         conference is (973) 437-5535, access code 334 643 848#.

                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge
